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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK


ULKU ROWE,

                         Plaintiff,

                 v.                   Case No. 1:19-cv-08655 (LGS)

GOOGLE LLC,

                        Defendant.




                         MOTION TWO:
MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION IN LIMINE TO
EXCLUDE HEARSAY EVIDENCE CONCERNING PLAINTIFF’S CANDIDACY FOR
          THE FINANCIAL SERVICES VERTICAL LEAD ROLE
       In this action, Plaintiff alleges that Google denied her a promotion to the Financial

Services Vertical Lead role (“FSVL”) in violation of the New York City Human Rights Law

(“NYCHRL”). Plaintiff hereby moves for an order in limine to exclude any evidence concerning

oral feedback from panelists who interviewed Ms. Rowe, which was allegedly provided to Stuart

Vardaman, the internal recruiter (who in turn allegedly provided it to Tariq Shaukat, the hiring

manager and decision-maker), or to Mr. Shaukat directly. This evidence is untrustworthy hearsay

for which no valid hearsay exception applies. Therefore, Plaintiff moves for an order precluding

Defendant from introducing any such evidence at trial.

       I.      Facts

       Google seeks to introduce for its truth alleged oral feedback from individuals who

interviewed Ms. Rowe in connection with the FSVL role. On June 13, 2018, Ms. Rowe

expressed interest in the role to Tariq Shaukat, her supervisor at the time and the hiring manager

for the role. Although Mr. Shaukat told Ms. Rowe he planned to give her a fair shot, he later

admitted that in June 2018, prior to Ms. Rowe’s application for the VPFS role and just weeks

into any formal professional interaction with her, he formed the opinion that Ms. Rowe was not

“likely right . . . for the role.” Mr. Shaukat nonetheless “allowed” Ms. Rowe to “continue” with

the interview process and interview with Cloud’s CEO, Diane Greene, as a “retention” exercise.

(ECF No. 163 ¶ 101). In August 2018, four individuals (Sebastien Marotte, Jason Martin, Darryl

Willis, and Vats Srivatsan) interviewed Ms. Rowe. However, they did not enter their feedback in

Google’s internal hiring software, gHire, despite near daily automated reminders and specific

requests from Mr. Vardaman that they do so. (ECF No. 163 ¶¶ 310-13).

       On August 31, 2018, just three days after Ms. Rowe raised concerns with HR about

possible discrimination, Google determined that she was “not viable for the role,” even though

the candidate review process had not concluded and no formal feedback on Ms. Rowe’s
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candidacy had been provided or entered into gHire. (GOOG-ROWE-00017722, ECF No. 163 ¶

325). Months later, Mr. Shaukat filled the role with a man, Stuart Breslow, who was not

qualified and who had not gone through any formal interview process. (ECF No. 163 ¶¶ 328-29).

       A.      Stuart Vardaman’s Testimony about Interview Feedback is Hearsay

       Mr. Vardaman claims that Mr. Willis and Mr. Martin provided feedback to him via a

direct message (ping): “I recall [] Darryl Willis feeling she wasn’t quite ready for a VP role; and

then Jason Martin sharing something along the lines that as a director, as an executive at Google,

there should have been some additional impact from Ulku’s activity.” (Vardaman Tr. 80:7-12).

He also claimed that Mr. Willis had told him (Mr. Vardaman) that Ms. Rowe was “junior for the

VP role.” (Id. at 82:1-7). Mr. Vardaman, however, denies sharing this information with Mr.

Shaukat. (Id. at 82:24 to 83:4).

       B.      Tariq Shaukat’s Testimony about Interview Feedback is Hearsay

       Mr. Shaukat claims that feedback from interview panelists was the basis for his

determination that Ms. Rowe was not qualified for the FSVL position. (Shaukat Tr. 161:14-23

(“once we received the negative feedback from those interviews on the business dimensions,

then we started suspecting that she was not going to end up being the finalist for the role.”)).

However, the only feedback Mr. Shaukat claims to have directly received from the panelists

came from a short email from Sebastien Marotte, in which he stated that he “found her very solid

on the technical part,” and while he had questions about Plaintiff’s presentation “on the business

side,” it was provided with the caveat that his interview with Plaintiff “was only 30mn.” (ECF

No. 163 ¶ 324). Mr. Shaukat did not recall speaking with any of the panelists directly, but

believed it was “possible” he spoke with Jason Martin. (Shaukat Tr. 148:15-149:16). All other

feedback Mr. Shaukat allegedly received and considered was provided by Mr. Vardaman,



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although Mr. Shaukat could not recall when Mr. Vardaman provided him with the feedback (i.e.,

before or after his decision that Ms. Rowe would not receive the role) or how Mr. Vardaman had

gathered the feedback. (Shaukat Tr. 149:17-151:24). The feedback Mr. Vardaman allegedly

provided to Mr. Shaukat was that Mr. Marotte and/or Mr. Martin had told him that Ms. Rowe

“had a hard time . . . articulating a vision for the financial services industry . . . the business

needs that she felt the industry was facing that Google Cloud could help with,” and could not lay

out a product mandate for the vertical. (Shaukat 146:8-147:3; see also 150:4-152:21).

        II.     Argument

        Google seeks to counter the strong evidence that Mr. Shaukat’s decision to exclude Ms.

Rowe from consideration for the FSVL role was improperly motivated by introducing evidence

of alleged hearsay conversations between Mr. Vardaman, Mr. Shaukat, and the interview

panelists. Testimony (i) from Mr. Vardaman about conversations he allegedly had with

interviewees, (ii) from Mr. Shaukat about Mr. Vardaman’s conveyance of the alleged feedback,

and (ii) from Mr. Shaukat, to the extent his testimony departs from his deposition testimony that

he did not recall any specific conversations with the panelists, is inadmissible hearsay and should

be stricken. See Fed. R. Evid. 802, 805. Alleged conversations between the panelists and Mr.

Vardaman, and the communications between panelists and Mr. Shaukat, are being offered for

their truth – that the panelists did not believe Ms. Rowe was qualified for the role and that Ms.

Rowe was not qualified for the role. As discussed below, there is no permissible exception for

these hearsay statements.

        Further, interview feedback that was first provided to Mr. Vardaman and then passed on

to Mr. Shaukat is double hearsay, for which both levels of hearsay must meet the exception. See

Hayden v Walmart Stores, Inc., 619 F App’x 22, 24 (2d Cir. 2015) (to be admissible, both



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statements in double hearsay must be subject to exception). Both the underlying statements by

the panelists and Mr. Vardaman’s statements to Mr. Shaukat are hearsay being offered for their

truth, and thus must be excluded. See Robertson v All Am. Quality Foods, Inc., 246 F Supp 3d

1365, 1382 (N.D. Ga. 2017) (excluding as double hearsay a witness’s testimony about what an

individual told him about that individual’s conversation with a third party).

       To the extent that Google argues that the statements are not being offered for their truth,

but rather to identify information Mr. Shaukat considered when making his decision (“effect on

listener”), the argument is disingenuous. Google repeatedly claims that the feedback – for

instance, that she was too junior and lacked a vision – was the reason she was not qualified and

not selected for the position. Thus, it is impossible to separate the truth of the purported

statement from Mr. Shaukat’s consideration of the statement. Since Google would not be

offering the evidence solely for its effect on the listener, the evidence inadmissible. See U.S. v.

Dupree, 706 F.3d 131, 136 (2d Cir. 2013) (effect on listener exception exists where “‘the

significance of an offered statement lies solely in the fact that it was made [and] no issue is raised

as to the truth of anything asserted.’”) (quoting Fed. R. Evid. 801(c) and 801(c) advisory

committee's note) (emphasis added); see also United States v. Reed, 908 F.3d 102 (5th Cir.

2018), cert. denied, 139 S. Ct. 2655 (2019) (“In light of the dual purposes for which a witness’s

statements could have been wielded[,]” there was no error in excluding them as hearsay; “the

line was fuzzy as to whether defendant truly sought to admit the statements solely to prove their

impact on him, the listener, or whether he in fact sought to admit them for their truth.”)

       Additionally, the state of mind exception to the rule against hearsay does not apply. Rule

803(3) “expressly excludes from the operation of the rule a statement of belief to prove the fact

believed. . . . [T]he state-of-mind exception does not permit the witness to relate any of the



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declarant’s statement as to why he held the particular state of mind, or what he might have

believed[.]” United States v. Cohen, 631 F2d 1223, 1225 (5th Cir. 1980). As the Advisory

Committee’s Notes to Fed. R. Evid. 803(3) explain, “[t]he exclusion of ‘statements of memory or

belief to prove the fact remembered or believed’ is necessary to avoid the virtual destruction of

the hearsay rule which would otherwise result from allowing state of mind, provable by a

hearsay statement, to serve as the basis for an inference of the happening of the event which

produced the state of mind.”

       Finally, there is no indicia of reliability for any of the statements being offered, as there is

no evidence that the statements were actually made. See United States v. Delvecchio, 816 F.2d

859, 863 (2d Cir. 1987) (hearsay offered to establish intent of non-declarant not admissible

without “independent evidence which connects the declarant’s statement with the non-

declarant’s activities.”). At deposition, Mr. Shaukat testified that he had a standing weekly

meeting with Mr. Vardaman, during which time Mr. Vardaman would provide “a verbal

summary of the feedback that was provided from the interviewers,” which Mr. Vardaman also

recorded in detailed notes. Yet, in Mr. Vardaman’s thorough and extensive notes, there is no

mention of this feedback or having provided it to Mr. Shaukat. Additionally, although each of

Ms. Rowe’s panelists was asked numerous times over many weeks to submit their feedback in

gHire, they never did. That the alleged feedback came through informal channels, in

contravention to Google’s regular practice of having interviewees enter feedback in written form

in the gHire portal, is further that basis. See Fed. R. Evid. 401, 403.

       Accordingly, Plaintiff respectfully requests that the Court preclude Defendant from

offering any evidence concerning oral feedback from Ms. Rowe’s interview panelists.




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DATED: New York, New York       Respectfully submitted,
       November 21, 2022
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